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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA

ELIANA SALZHAUER, individually               Case No. 1:19-cv-02709
and on behalf of all others similarly
situated,                                    U.S. District Judge Mark H. Cohen

             Plaintiff,

      vs.

THE COCA-COLA COMPANY, and
FAIRLIFE, LLC,

             Defendants.


 DEFENDANTS THE COCA-COLA COMPANY AND FAIRLIFE, LLC’S
 UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
          PLAINTIFF’S CLASS ACTION COMPLAINT

      Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Defendants The

Coca-Cola Company (“Coca-Cola”) and fairlife, LLC (“fairlife”) (collectively,

“Defendants”) hereby move the Court for an extension of time to answer or respond

to Plaintiff’s Class Action Complaint. In support of this motion, Defendants state:

      1.     Plaintiff filed her Class Action Complaint June 13, 2019. See Dkt. 1.

      2.     Defendants have been served with Plaintiffs’ Class Action Complaint.

      3.     On June 21, 2019, Plaintiff filed a motion requesting that the Judicial

Panel on Multidistrict Litigation (“JPML”) consolidate this action with other federal

actions involving similar allegations pursuant to 28 U.S.C. § 1407 for coordinated

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or consolidated pretrial proceedings.1 See In re fairlife Milk Products Marketing and

Sales Practices Litigation, No. 2909 (J.P.M.L. 2019), Dkt. 1. Plaintiff seeks transfer

of all the other actions to the Northern District of Georgia.

      4.      Defendants and parties in these other actions filed responses to

Plaintiff’s motion to transfer on July 15, 2019. See id., Dkts. 1, 18-20.

      5.      Defendants’ answers or other responsive pleadings in this case currently

are due on or before July 22, 2019 (fairlife) and July 24, 2019 (Coca-Cola). Fed. R.

Civ. P. 12.

      6.      This Court may extend the time for Defendants to file their responsive

pleadings for good cause. Fed. R. Civ. P. 6(b)(1)(A). Good cause exists to extend

the deadline in this case because the additional time will allow the JPML to decide

whether to consolidate and, if so, where to transfer these related cases.

      7.      Accordingly, Defendants request that the Court extend the time for

them to respond to Plaintiff’s Class Action Complaint and allow them to file

responsive pleadings no later than 45 days after the decision by the JPML regarding

transfer and consolidation of this case and the other federal cases involving the


1Currently, those cases are: Alain Michael v. Fairlife, LLC, Mike McCloskey, and
Sue McCloskey, No. 19-cv-03924 (N.D. Ill.); Andrew Schwartz and Alice Vitiello v.
Fairlife, LLC, No. 19-cv-03929 (N.D. Ill.); and Mohammad Sabeehullah and Nabil
Khan v. Fairlife, LLC, and Mike McCloskey, and Sue McCloskey, No. 19-cv-00222
(N.D. Ind.)

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allegations set forth in Plaintiff’s Class Action Complaint. If Coca-Cola or fairlife

is obligated to file a responsive pleading in any other federal case involving the

allegations set forth in Plaintiff’s Class Action Complaint before that time, then

Defendants shall file responsive pleadings in this case on the same day.

      8.     None of the parties will be prejudiced if the requested extension is

granted; nor will any substantial delay result.

      9.     Defendants have conferred with Plaintiff regarding the requested

extension and Plaintiff consents to this request.

      10.    Defendants have attached a proposed order for the Court’s

consideration.



      Respectfully submitted this 17th day of July, 2019.

                                 /s/ Jeffrey S. Cashdan
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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 17, 2019, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which will

automatically serve notice of electronic filing to all counsel of record.


                                                     /s/ Jeffrey S. Cashdan
                                                     Jeffrey S. Cashdan




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